
PER CURIAM.
This is an appeal from an adjudication of delinquency and commitment to the Department of Health and Rehabilitative Services entered by the Circuit Court of Orange County, Florida. The public defender has filed an Anders 1 motion and brief, requesting leave to withdraw as counsel for appellant and representing to this Court that no reversible error appears. On October 26,1979, this Court gave the appellant thirty (30) days within which to file a brief in her own behalf. No such brief has been filed. The Court has reviewed the brief and the record herein and no reversible error appears. The motion of the public defender to withdraw is hereby granted, and the adjudication of delinquency is hereby
AFFIRMED.
COBB, UPCHURCH and SHARP, JJ., concur.

. Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).

